                          Case 4:12-cr-00109-DPM Document 89 Filed 09/30/13 Page 1 of 6

A0245B        (Rev. 09/11) Judgment in a Criminal Case                                                                    FILED
                                                                                                                       U.S. DISTRICT COURT
              Sheet I                                                                                              §§TERN QISIRICJ AR1$ANSAS



                                          UNITED STATES DISTRICT COURT                                                 SEP 3 0 2013
                                                                                                            JAMESW.
                                                           Eastern District of Arkansas          By: _ _....J..U~~-+-~~~
                                                                       )
             UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                   )
                      Randall Jason Harris                             )
                                                                       )
                                                                              Case Nwnber: 4:12-cr-109-DPM-1
                                                                       )      USM Number: 27048-009
                                                                       )
                                                                       )       David R. Cannon
                                                                                     Defendant's Attorney
THE DEFENDANT:
""pleaded guilty to count(s)           two of the Indictment.

0 pleaded nolo contendere to count(s)
  which was accepted by the court.
0 was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended             Count
18 u.s.c. § 922(g)(1)              Felon in possession of a firearm, a Class C felony                         2/12/2012                 2




       The defendant is sentenced as provided in pages 2 through                 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
~Count(s)        1 of the Indictment                     ""is     0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any chan_ge of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          9/20/2013
                                                                          Date oflmposition of Judgment



                                                                          Signature of Judge           V


                                                                           D.P. Marshall Jr.                            U.S. District Judge
                                                                          Name and Title of Judge


                                                                                         )o      ~ ;1.013
                                                                          Date
                             Case 4:12-cr-00109-DPM Document 89 Filed 09/30/13 Page 2 of 6

AO 2458       (Rev. 09/ll) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                 Judgment- Page   --=2'--- of   6
DEFENDANT: Randall Jason Harris
CASE NUMBER: 4:12-cr-109-0PM


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 120 months, consecutive to Harris's undischarged term of imprisonment imposed in Pulaski County Circuit Court, Case No.
 CR-12-903.



    ilf' The court makes the following recommendations to the Bureau of Prisons:
 That Harris participate in residential substance abuse treatment (RDAP), mental health counseling, and educational and
 vocational programs during incarceration. The Court further recommends that Harris be incarcerated at FCC Forrest City,
 Arkansas or FCI Texarkana, Arkansas, to facilitate visitation with family.

    if The defendant is remanded to the custody of the United States Marshal.
    0     The defendant shall surrender to the United States Marshal for this district:
          0     at                                     0 a.m.    0 p.m.     on
                      ----------------
          0     as notified by the United States Marshal.

    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0     before 2 p.m. on
          0 as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                          By -------~====~==~~==~~~---------
                                                                                     DEPUTY UNITED STATES MARSHAL
                              Case 4:12-cr-00109-DPM Document 89 Filed 09/30/13 Page 3 of 6

AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment-Page   --=§- of            6
DEFENDANT: Randall Jason Harris
CASE NUMBER: 4:12-cr-109-DPM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
2 years.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully p<?Ssess a controlled s~b~tance. The defendant shal.l refi:ain from anx unlawful use o~ a <:ontrolled
substance. The defendant shall submit to one drug test withm 15 days of release from Impnsonment ana at least two penodic drug tests
thereafter, as determined by the court.
0         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
0         as direc~ed by the probation offi~er, the Bureal! of Prisons, or any state sex offender registration agency in which he or she resides,
          works, IS a student, or was convicted of a quahfymg offense. (Check. if applicable.)

 0        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any J?ersons engag_ed in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall ~rmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observea in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permiSSion of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or P-ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                          Judgment-Page _   __;._4_ of _ ___:6::.____
DEFENDANT: Randall Jason Harris
CASE NUMBER: 4:12-cr-109-DPM

                                        SPECIAL CONDITIONS OF SUPERVISION
 81) Harris shall participate, under the guidance and supervision of the probation office, in a substance abuse treatment
 program, which may include testing, outpatient counseling, and residential treatment. Harris shall abstain from the use of
 alcohol throughout the course of his drug treatment.

 82) Harris shall participate in mental health counseling under the guidance and supervision of the probation office.
                          Case 4:12-cr-00109-DPM Document 89 Filed 09/30/13 Page 5 of 6
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                     Judgment- Page   -~5-   of         6
DEFENDANT: Randall Jason Harris
CASE NUMBER: 4:12-cr-109-DPM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                              Restitution
TOTALS             $ 100.00                                            $                                 $



0 The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                                               Total Loss*       Restitution Ordered Priority or Percentage




 TOTALS                               $                         0.00           $                    0.00
                                          -------------                            ------------
 0    Restitution amount ordered pursuant to plea agreement $
                                                                           --------------------
 0    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date ofthejudgment, pursuantto 18 U.S.C. § 3612(t). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      0 the interest requirement is waived for the              0 fme       0 restitution.
      0 the interest requirement for the              0   fme    0 restitution is modified as follows:


 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or after
 Septemoer 13, 1994, but before April23, 1996.
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AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                               Judgment- Page --""6- of                  6
DEFENDANT: Randall Jason Harris
CASE NUMBER: 4:12-cr-109-DPM

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     0 Lump sum payment of$ _______ due immediately, balance due
           0     not later than -----.,.------::--- , or
           0     in accordance     D C, D D, D E, or                            D F below; or
B     D    Payment to begin immediately (may be combined with                D C,         D D, or      0 F below); or
C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
          -----
D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
          -----
           term of supervision; or
E     D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ri/ Special instructions regarding the payment of criminal monetary penalties:
            During incarceration, Harris shall pay 50 percent per month of all funds available to him until the $100 special
            assessment is paid in full.




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal mone~ penalties is due during
 imprisonment. All cruninal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 PaYJ!lents shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
 (5J fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
